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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

US DOMINION, INC., et al.,                           )
                                                     )
        Plaintiffs,                                  )
                                                     )
                vs.                                  )   Case No. 1:21-cv-02131-CJN
                                                     )
PATRICK BYRNE,                                       )   ORAL HEARING REQUESTED
                                                     )
        Defendant.                                   )
                                                     )

        DEFENDANT PATRICK BYRNE’S MOTION TO DISMISS COMPLAINT

       Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendant Patrick

Byrne (Byrne) moves this Court to dismiss Plaintiffs’ Complaint (Doc. 1) for failure to state a

claim upon which relief can be granted. As grounds for this motion, Byrne directs the Court to

the memorandum in support filed herewith.

       For the foregoing reasons and those that may be presented at a hearing on this matter,

Byrne respectfully requests that the Court enter an order dismissing Plaintiffs’ Complaint with

prejudice for failure to state a claim upon which relief can be granted.

Dated: November 17, 2021                      Respectfully submitted,

                                                      /s/
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